    Case 19-15668-elf        Doc 51     Filed 04/28/20 Entered 04/29/20 10:28:27           Desc Main
                                        Document      Page 1 of 1



                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF PENNSYLVANIA

IN RE:               JOSEPH PRINCE,                    :          Chapter 13
                                                       :
                                    Debtor             :          Bky. No. 19-1568 ELF

                          ORDER CONFIRMING PLAN UNDER CHAPTER 13

            AND NOW, upon consideration of the plan submitted by the debtor under chapter 13 of title
11 U.S.C. and the standing trustee's report which has been filed; and it appearing that:
                     A.     a meeting of creditors upon notice pursuant to 11 U.S.C. 341(a) and a
               confirmation hearing upon notice having been held;
                     B.     the plan complies with the provisions of 11 U.S.C. §§1322 and 1325 and with
               other applicable provisions of title 11 U.S.C.;
                     C.     any fee, charge or amount required under chapter 13 of title 28 or by the plan,
               to be paid before confirmation, has been paid;


            WHEREFORE, it is ORDERED that the plan is CONFIRMED, SUBJECT TO THE
FOLLOWING: With the consent of the Debtor, the reference to the Wells Fargo Home Equity of Line
of Credit, the Loan Modification and the adequate protection payments are STRICKEN from Part 9 of
the plan.




Date: April 28, 2020
                                             ERIC L. FRANK
                                             U.S. BANKRUPTCY JUDGE
